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                      IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO

EULALIO CASTRO ZAVALA,

       Plaintiff,

v.                                                                 No. 20-cv-0738 KG/SMV

CHISHOLM ENERGY OPERATING, LLC;
CHISHOLM ENERGY MANAGEMENT, LLC; and
CONTEK SOLUTIONS, LLC,

       Defendants.

                         ORDER SETTING MOTION HEARING

Date and time:              Wednesday, September 23, 2020, at 9:30 a.m. (MDT)

Matter to be heard:         Defendant Contek Solutions, LLC’s Motion for Extension of Time
                            to File Amended Notice of Removal and Response to Motion to
                            Remand [Doc. 24]

       IT IS ORDERED that a telephonic hearing is set on Defendant Contek Solutions, LLC’s

Motion for Extension of Time [Doc. 24] for September 23, 2020, at 9:30 a.m. (MDT). Counsel

must call the Court’s AT&T Conference Line, (888) 363-4734 (access code: 4382538), to connect

to the proceedings.

       IT IS SO ORDERED.


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                                                  STEPHAN M. VIDMAR
                                                  United States Magistrate Judge
